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                                                   MEANSNO, 727-523OBJ, DELAY, APPEAL


                                   U.S. Bankruptcy Court
                           Western District of Arkansas (Fayetteville)
                            Bankruptcy Petition #: 5:19-bk-72555
                                                                            Date filed:   09/19/2019
Assigned to: Judge Ben T Barry                                           341 meeting:     10/21/2019
Chapter 7                                                  Deadline for filing claims:    01/23/2020
Voluntary                                        Deadline for objecting to discharge:     12/20/2019
Asset                                            Deadline for financial mgmt. course:     12/20/2019



Debtor                                               represented by Stanley V Bond
LaDonna Humphrey                                                    Bond Law Office
11580 Farrar Rd                                                     P.O. Box 1893
Bentonville, AR 72712                                               Fayetteville, AR 72701-1893
BENTON-AR                                                           (479) 444-0255
SSN / ITIN: xxx-xx-0480                                             Fax : (479) 235-2827
aka LaDonna Meredith                                                Email: attybond@me.com
dba Let's Bring Them Home
dba Little Red Boutique                                             Emily J. Henson
                                                                    Bond Law Office
                                                                    PO Box 1893
                                                                    Fayetteville, AR 72701-1893
                                                                    (479) 444-0255
                                                                    Fax : (479) 235-2827
                                                                    Email: emily.henson@me.com

Trustee                                              represented by Bianca Rucker
Bianca Rucker                                                       RUCKER LAW PLLC
Chapter 7 Panel Trustee                                             One East Center St.
1 East Center Street                                                Suite 215
Suite 215                                                           Fayetteville, AR 72701
Fayetteville, AR 72701                                              479-445-6340
479-445-6340                                                        Fax : 479-689-07335
                                                                    Email: ruckerlaw@outlook.com

U.S. Trustee
U.S. Trustee (ust)
Office Of U. S. Trustee
200 W Capitol, Ste. 1200
Little Rock, AR 72201
501.324.7357


   Filing Date                   #                                Docket Text




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                            1                  Chapter 7 Voluntary Petition. Fee Amount $335
                            (9 pgs)            Filed by LaDonna Humphrey. (Bond, Stanley)
 09/19/2019                                    (Entered: 09/19/2019)

                            2                  Credit Counseling Certificate Filed by Stanley V
                            (1 pg)             Bond on behalf of Debtor LaDonna Humphrey
 09/19/2019                                    (Bond, Stanley) (Entered: 09/19/2019)

                            3                  RECEIPT of Voluntary Petition (Chapter 7)(5:19-
                                               bk-72555) [misc,volp7a] ( 335.00) Filing Fee.
                                               receipt number 7297801, amount $ 335.00. (U.S.
 09/19/2019                                    Treasury) (Entered: 09/19/2019)

                            4                  Meeting of Creditors with 341(a) meeting to be
                            (3 pgs; 2 docs)    held on 10/21/2019 at 09:00 AM at Fayetteville
                                               First Meeting Room. Objections to Discharge due
                                               by 12/20/2019. (Bond, Stanley) (Entered:
 09/19/2019                                    09/19/2019)

                            5                  Order of Deficiency Summary of Assets and
                            (2 pgs; 2 docs)    Liabilities due 10/3/2019. Schedules-Documents
                                               due 10/3/2019. Statement of Financial Affairs due
                                               10/3/2019. Statement of Intention due 10/21/2019.
                                               Statement of Current Monthly Income Ch 7 Due:
 09/19/2019                                    10/3/2019. (Wilkins, Tanya) (Entered: 09/19/2019)

                            6                  Request by PRA Receivables Management, LLC
                                               Designating Mailing Address for Notices pursuant
                                               to Bankruptcy Rule 2002(g)(1), requesting service
                                               of copies of all future notices at the address
                                               specified in the process of filing this Request Filed
 09/20/2019                                    by (Smith, Valerie) (Entered: 09/20/2019)

                            7                  BNC Certificate of Mailing - Meeting of Creditors
                            (3 pgs)            (RE: related document(s) 4 Meeting of Creditors
                                               with 341(a) meeting to be held on 10/21/2019 at
                                               09:00 AM at Fayetteville First Meeting Room.
                                               Objections to Discharge due by 12/20/2019.) No.
                                               of Notices: 11. Notice Date 09/21/2019. (Admin.)
 09/21/2019                                    (Entered: 09/21/2019)

                            8                  BNC Certificate of Mailing(RE: related document
                            (2 pgs)            (s) 5 Order of Deficiency Summary of Assets and
                                               Liabilities due 10/3/2019. Schedules-Documents
                                               due 10/3/2019. Statement of Financial Affairs due
                                               10/3/2019. Statement of Intention due 10/21/2019.
                                               Statement of Current Monthly Income Ch 7 Due:
                                               10/3/2019.) No. of Notices: 1. Notice Date




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 09/21/2019                                    09/21/2019. (Admin.) (Entered: 09/21/2019)

                            9                  Motion to Extend Deadline to File Schedules or
                            (2 pgs)            Provide Required Information Filed by Stanley V
                                               Bond on behalf of LaDonna Humphrey (Bond,
 10/03/2019                                    Stanley) (Entered: 10/03/2019)

                            10                 Application to Employ Attorney for Trustee Filed
 10/03/2019                 (7 pgs)            by Trustee (Rucker, Bianca) (Entered: 10/03/2019)

                            11                 Order Granting Application To Approve
                            (2 pgs; 2 docs)    Employment Of Attorney. (Related Doc # 10)
                                               Entered on Docket 10/4/2019 (Wilkins, Tanya)
 10/04/2019                                    (Entered: 10/04/2019)

                            12                 BNC Certificate of Mailing(RE: related document
                            (2 pgs)            (s) 11 Order Granting Application To Approve
                                               Employment Of Attorney. (Related Doc 10)
                                               Entered on Docket 10/4/2019 (Wilkins, Tanya) )
                                               No. of Notices: 1. Notice Date 10/06/2019.
 10/06/2019                                    (Admin.) (Entered: 10/06/2019)

                            13                 Order Granting Motion To Extend Deadline to
                            (2 pgs; 2 docs)    File Schedules or Provide Required Information
                                               (Related Doc # 9) Schedules-Documents due
                                               10/14/2019. Summary of Assets and Liabilities
                                               due 10/14/2019. Statement of Financial Affairs
                                               due 10/14/2019. Statement of Current Monthly
                                               Income Ch 7 Due: 10/14/2019. Entered on
                                               Docket 10/7/2019 (Mansfield, MaryBeth)
 10/07/2019                                    (Entered: 10/07/2019)

                            14                 BNC Certificate of Mailing(RE: related document
                            (2 pgs)            (s) 13 Order Granting Motion To Extend
                                               Deadline to File Schedules or Provide Required
                                               Information (Related Doc 9) Schedules-
                                               Documents due 10/14/2019. Summary of Assets
                                               and Liabilities due 10/14/2019. Statement of
                                               Financial Affairs due 10/14/2019. Statement of
                                               Current Monthly Income Ch 7 Due: 10/14/2019.
                                               Entered on Docket 10/7/2019 (Mansfield,
                                               MaryBeth) ) No. of Notices: 1. Notice Date
 10/09/2019                                    10/09/2019. (Admin.) (Entered: 10/09/2019)

                            15                 Schedules Filed: Summary of Assets and
                            (50 pgs)           Liabilities, Sch A/B, Sch C, Sch D, Sch E/F, Sch
                                               G, Sch H, Sch I, Sch J, Declaration About
                                               Individual Debtor Schedules, Stmt of Financial




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                                               Affairs, Stmt of Intention, Official Form 122A-1,
                                               Disclosure of Compensation for Attorney,
                                               Certification Verification of Creditor Matrix [Fee
                                               Due Yes] Filed by Stanley V Bond on behalf of
                                               Debtor LaDonna Humphrey (Bond, Stanley)
                                               Modified on 10/15/2019 (Wilkins, Tanya).
                                               Modified on 10/15/2019 (Wilkins, Tanya).
 10/14/2019                                    (Entered: 10/14/2019)

                            16                 RECEIPT of Schedules Filed(5:19-bk-72555)
                                               [misc,schdfld] ( 31.00) Filing Fee. receipt number
                                               7325604, amount $ 31.00. (U.S. Treasury)
 10/16/2019                                    (Entered: 10/16/2019)

                            17                 Personal Financial Management Course Certificate
 10/16/2019                 (1 pg)             for Debtor(Bhatt, Jai) (Entered: 10/16/2019)

                            18                 Amended Schedules/Statements Filed:Voluntary
                            (7 pgs)            Petition, [Fee Due No] Filed by Stanley V Bond on
                                               behalf of Debtor LaDonna Humphrey (Bond,
 10/17/2019                                    Stanley) (Entered: 10/17/2019)

                            19                 AMENDED Meeting of Creditors 341(a) meeting
                            (3 pgs; 2 docs)    to be held on 10/21/2019 at 09:00 AM at
                                               Fayetteville First Meeting Room. Financial
                                               Management Certificate Due:12/20/2019. Last day
                                               to oppose discharge or dischargeability is
                                               12/20/2019. (Wilkins, Tanya) (Entered:
 10/17/2019                                    10/17/2019)

                            20                 Amended Schedules/Statements Filed: Sch A/B,
                            (15 pgs)           Sch C, Stmt of Financial Affairs, [Fee Due No]
                                               Filed by Stanley V Bond on behalf of Debtor
                                               LaDonna Humphrey (Bond, Stanley) (Entered:
 10/17/2019                                    10/17/2019)

                            21                 BNC Certificate of Mailing - Meeting of Creditors
                            (4 pgs)            (RE: related document(s) 19 AMENDED Meeting
                                               of Creditors 341(a) meeting to be held on
                                               10/21/2019 at 09:00 AM at Fayetteville First
                                               Meeting Room. Financial Management Certificate
                                               Due:12/20/2019. Last day to oppose discharge or
                                               dischargeability is 12/20/2019.) No. of Notices: 16.
                                               Notice Date 10/19/2019. (Admin.) (Entered:
 10/19/2019                                    10/19/2019)

                            22                 Amended Schedules/Statements Filed: Sch A/B,
                            (10 pgs)           Sch C, Sch H, [Fee Due No] Filed by Stanley V




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                                               Bond on behalf of Debtor LaDonna Humphrey
 10/22/2019                                    (Bond, Stanley) (Entered: 10/22/2019)

                            23                 Application to Employ Special Counsel Filed by
                            (5 pgs)            Bianca Rucker on behalf of Bianca Rucker
 10/22/2019                                    (Rucker, Bianca) (Entered: 10/22/2019)

                            24                 Motion for Relief from Stay and Motion to Annul
                            (89 pgs; 7 docs)   the Automatic Stay(If Necessary)for Judgment, or
                                               Alternatively Motion to Declare Judgment Valid.
                                               Fee Amount $181 Filed by Charles T. Coleman on
                                               behalf of Absolute Pediatric Services, Inc. d/b/a
                                               Absolute Pediatric Therapy and Anthony
                                               Christopher (Attachments: # 1 Exhibit A # 2
                                               Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E
                                               # 6 Exhibit F) (Coleman, Charles) (Entered:
 10/22/2019                                    10/22/2019)

                            25                 RECEIPT of Motion for Relief From Stay(5:19-bk-
                                               72555) [motion,mrlfsty] ( 181.00) Filing Fee.
                                               receipt number 7332183, amount $ 181.00. (U.S.
 10/22/2019                                    Treasury) (Entered: 10/22/2019)

                            26                 Brief and/or Memorandum of Law and Brief in
                            (17 pgs)           Support of Motion to Annul the Automatic Stay(If
                                               Necessary)for Judgment, or Alternatively Motion to
                                               Declare Judgment Valid (RE: related document(s)
                                               24 Motion for Relief From Stay filed by Creditor
                                               Absolute Pediatric Services, Inc. d/b/a Absolute
                                               Pediatric Therapy and Anthony Christopher) filed
                                               by Charles T. Coleman Creditor Absolute Pediatric
                                               Services, Inc. d/b/a Absolute Pediatric Therapy and
                                               Anthony Christopher. (Coleman, Charles)
 10/22/2019                                    (Entered: 10/22/2019)

                            27                 Initial Report: Meeting of Creditors Held and
                                               Request For Issuance of Notice of Assets: As
                                               Trustee in this Case, I REQUEST A NOTICE OF
                                               ASSETS Be Issued by the Court Establishing a
                                               Claims Bar Date for the Filing of Claims. Debtor
                                               present, meeting held & concluded.. (Rucker,
 10/23/2019                                    Bianca) (Entered: 10/23/2019)

                            28                 Notice of Assets and Deadline to File Proof of
                            (2 pgs; 2 docs)    Claim Proofs of Claims due by 1/23/2020.
 10/23/2019                                    (Wilkins, Tanya) (Entered: 10/23/2019)

                            29                 Hearing SCHEDULED(RE: related document(s)




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                            (2 pgs; 2 docs)    24 Motion for Relief from Stay and Motion to
                                               Annul the Automatic Stay(If Necessary)for
                                               Judgment, or Alternatively Motion to Declare
                                               Judgment Valid. Fee Amount $181 Filed by
                                               Charles T. Coleman on behalf of Absolute
                                               Pediatric Services, Inc. d/b/a Absolute Pediatric
                                               Therapy and Anthony Christopher (Attachments: #
                                               1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit
                                               D # 5 Exhibit E # 6 Exhibit F) filed by Creditor
                                               Absolute Pediatric Services, Inc.) Hearing
                                               scheduled for 12/4/2019 at 09:00 AM at
                                               Fayetteville Division. (Carter, Angie) (Entered:
 10/24/2019                                    10/24/2019)

                            30                 Amended Schedules/Statements Filed: Sch A/B,
                            (20 pgs)           Sch C, Sch D, Sch E/F, [Fee Due Yes] Filed by
                                               Stanley V Bond on behalf of Debtor LaDonna
 10/25/2019                                    Humphrey (Bond, Stanley) (Entered: 10/25/2019)

                            31                 RECEIPT of Amended Schedules, Statements,
                                               Petition Page or Creditors(5:19-bk-72555)
                                               [misc,amdsc] ( 31.00) Filing Fee. receipt number
                                               7335591, amount $ 31.00. (U.S. Treasury)
 10/25/2019                                    (Entered: 10/25/2019)

                            32                 BNC Certificate of Mailing(RE: related document
                            (3 pgs)            (s) 28 Notice of Assets and Deadline to File Proof
                                               of Claim Proofs of Claims due by 1/23/2020.) No.
                                               of Notices: 16. Notice Date 10/25/2019. (Admin.)
 10/25/2019                                    (Entered: 10/25/2019)

                            33                 BNC Certificate of Mailing - Hearing(RE: related
                            (3 pgs)            document(s) 29 Hearing SCHEDULED(RE:
                                               related document(s) 24 Motion for Relief from
                                               Stay and Motion to Annul the Automatic Stay(If
                                               Necessary)for Judgment, or Alternatively Motion to
                                               Declare Judgment Valid. Fee Amount $181 Filed
                                               by Charles T. Coleman on behalf of Absolute
                                               Pediatric Services, Inc. d/b/a Absolute Pediatric
                                               Therapy and Anthony Christopher (Attachments: #
                                               1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit
                                               D # 5 Exhibit E # 6 Exhibit F) filed by Creditor
                                               Absolute Pediatric Services, Inc.) Hearing
                                               scheduled for 12/4/2019 at 09:00 AM at
                                               Fayetteville Division.) No. of Notices: 17. Notice
 10/26/2019                                    Date 10/26/2019. (Admin.) (Entered: 10/26/2019)

                            34
                                               Amended Application to Employ Special Counsel




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                            (5 pgs)            Filed by Bianca Rucker on behalf of Bianca Rucker
 10/29/2019                                    (Rucker, Bianca) (Entered: 10/29/2019)

                            35                 Order Granting Amended Application to
                            (2 pgs; 2 docs)    approve Employment of Attorney. (Related Doc
                                               # 34) Entered on Docket 10/30/2019 (Wilkins,
 10/30/2019                                    Tanya) (Entered: 10/30/2019)

                            36                 Notice of Appearance and Request for Notice filed
                            (2 pgs)            by Glenn Scott Ritter Creditor Absolute Pediatric
                                               Services, Inc.. (Ritter, Glenn) (Entered:
 11/01/2019                                    11/01/2019)

                            37                 BNC Certificate of Mailing(RE: related document
                            (2 pgs)            (s) 35 Order Granting Amended Application to
                                               approve Employment of Attorney. (Related Doc
                                               34) Entered on Docket 10/30/2019 (Wilkins,
                                               Tanya) ) No. of Notices: 1. Notice Date
 11/01/2019                                    11/01/2019. (Admin.) (Entered: 11/01/2019)

                            38                 Response to (RE: related document(s)24 Motion
                            (2 pgs)            for Relief from Stay and Motion to Annul the
                                               Automatic Stay(If Necessary)for Judgment, or
                                               Alternatively Motion to Declare Judgment Valid.
                                               Fee Amount $181 Filed by Charles T. Coleman on
                                               behalf of Absolute Pediatric Services, Inc. d/b/a
                                               Absolute Pediatric Therapy and Anthony
                                               Christopher (Attachments: # 1 Exhibit A # 2
                                               Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E
                                               # 6 Exhibit F) filed by Creditor Absolute Pediatric
                                               Services, Inc.) Filed by Stanley V Bond on behalf
                                               of Debtor LaDonna Humphrey (Bond, Stanley)
 11/11/2019                                    (Entered: 11/11/2019)

                            39
                                               Court Calendar Update(RE: related document(s) 38
                                               Response to (RE: related document(s)24 Motion
                                               for Relief from Stay and Motion to Annul the
                                               Automatic Stay(If Necessary)for Judgment, or
                                               Alternatively Motion to Declare Judgment Valid.
                                               Fee Amount $181 Filed by Charles T. Coleman on
                                               behalf of Absolute Pediatric Services, Inc. d/b/a
                                               Absolute Pediatric Therapy and Anthony
                                               Christopher (Attachments: # 1 Exhibit A # 2
                                               Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E
                                               # 6 Exhibit F) filed by Creditor Absolute Pediatric
                                               Services, Inc.) Filed by Stanley V Bond on behalf
                                               of Debtor LaDonna Humphrey) Hearing scheduled
                                               for 12/4/2019 at 09:00 AM at Fayetteville Division.




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 11/12/2019                                     (Carter, Angie) (Entered: 11/12/2019)

                            40                  Objection to (RE: related document(s)24 Motion
                            (2 pgs)             for Relief from Stay and Motion to Annul the
                                                Automatic Stay(If Necessary)for Judgment, or
                                                Alternatively Motion to Declare Judgment Valid.
                                                Fee Amount $181 Filed by Charles T. Coleman on
                                                behalf of Absolute Pediatric Services, Inc. d/b/a
                                                Absolute Pediatric Therapy and Anthony
                                                Christopher (Attachments: # 1 Exhibit A # 2
                                                Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E
                                                # 6 Exhibit F) filed by Creditor Absolute Pediatric
                                                Services, Inc.) Filed by Bianca Rucker on behalf of
                                                Trustee Bianca Rucker (Rucker, Bianca) (Entered:
 12/02/2019                                     12/02/2019)

                            41                  Adversary case 5:19-ap-07067. Complaint FOR
                            (86 pgs; 12 docs)   RELIEF FROM VIOLATIONS OF THE
                                                AUTOMATIC STAY AND FOR SANCTIONS by
                                                LaDonna Humphrey against Xollie Duncan. Fee
                                                Amount (Attachments: # 1 Exhibit A # 2 Exhibit
                                                B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
                                                Exhibit F # 7 Exhibit G # 8 Exhibit H # 9
                                                Exhibit I # 10 Exhibit J # 11 AP Cover Sheet)
                                                Nature of Suit: (71 (Injunctive relief -
                                                reinstatement of stay)) (72 (Injunctive relief -
                                                other)) (91 (Declaratory judgment)) (Bond,
                                                Stanley) Modified on 12/3/2019 (Wilkins, Tanya).
 12/02/2019                                     (Entered: 12/02/2019)

                            42                  Court Calendar Update(RE: related document(s) 40
                                                Objection to (RE: related document(s)24 Motion
                                                for Relief from Stay and Motion to Annul the
                                                Automatic Stay(If Necessary)for Judgment, or
                                                Alternatively Motion to Declare Judgment Valid.
                                                Fee Amount $181 Filed by Charles T. Coleman on
                                                behalf of Absolute Pediatric Services, Inc. d/b/a
                                                Absolute Pediatric Therapy and Anthony
                                                Christopher (Attachments: # 1 Exhibit A # 2
                                                Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E
                                                # 6 Exhibit F) filed by Creditor Absolute Pediatric
                                                Services, Inc.) Filed by Bianca Rucker on behalf of
                                                Trustee Bianca Rucker) Hearing scheduled for
                                                12/4/2019 at 09:00 AM at Fayetteville Division.
 12/03/2019                                     (Carter, Angie) (Entered: 12/03/2019)

                            43                  Motion to Continue Hearing (related documents(s)
                            (2 pgs)             29 Hearing (Document) Sched/Cont/Resched, 39
                                                Court Calendar Update, 42 Court Calendar Update)




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                                               Filed by Stanley V Bond on behalf of LaDonna
 12/03/2019                                    Humphrey (Bond, Stanley) (Entered: 12/03/2019)

                            44                 Hearing SCHEDULED(RE: related document(s)
                            (2 pgs; 2 docs)    43 Motion to Continue Hearing (related documents
                                               (s)29 Hearing (Document) Sched/Cont/Resched, 39
                                               Court Calendar Update, 42 Court Calendar Update)
                                               Filed by Stanley V Bond on behalf of LaDonna
                                               Humphrey) Hearing scheduled for 12/4/2019 at
                                               09:00 AM at Fayetteville Division. (Carter, Angie)
 12/03/2019                                    (Entered: 12/03/2019)

                            45                 Notice of Appearance and Request for Notice Filed
                            (2 pgs)            by William Eric Berger Creditor Absolute Pediatric
                                               Services, Inc. (Berger, William) (Entered:
 12/03/2019                                    12/03/2019)

                            46                 Motion to Sell and Notice of Opportunity to Object
                            (6 pgs; 2 docs)    and Overbid Filed by Bianca Rucker on behalf of
                                               Bianca Rucker (Attachments: # 1 Exhibit Mailing
 12/04/2019                                    Matrix) (Rucker, Bianca) (Entered: 12/04/2019)

                            47                 Hearing Held (RE: Motion for Relief From Stay -
                                               related document(s) 24) (Granted; Order by Ritter)
 12/04/2019                                    (Carter, Angie) (Entered: 12/04/2019)

                            48                 Hearing Held (RE: Response - related document(s)
 12/04/2019                                    38) (Carter, Angie) (Entered: 12/04/2019)

                            49                 Hearing Held (RE: Objection - related document(s)
 12/04/2019                                    40) (Carter, Angie) (Entered: 12/04/2019)

                            50                 Hearing Held (RE: Motion to Continue/Reschedule
                                               Hearing - related document(s) 43) (Denied;)
 12/04/2019                                    (Carter, Angie) (Entered: 12/04/2019)

                            51                 BNC Certificate of Mailing - Hearing(RE: related
                            (3 pgs)            document(s) 44 Hearing SCHEDULED(RE:
                                               related document(s) 43 Motion to Continue
                                               Hearing (related documents(s)29 Hearing
                                               (Document) Sched/Cont/Resched, 39 Court
                                               Calendar Update, 42 Court Calendar Update) Filed
                                               by Stanley V Bond on behalf of LaDonna
                                               Humphrey) Hearing scheduled for 12/4/2019 at
                                               09:00 AM at Fayetteville Division.) No. of
                                               Notices: 17. Notice Date 12/05/2019. (Admin.)
 12/05/2019                                    (Entered: 12/05/2019)




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                            52                 Order Denying Motion To Continue/Reschedule
                            (5 pgs; 2 docs)    Hearing On (Related Doc 43) (related
                                               documents Motion for Relief from Stay and
                                               Motion to Annul the Automatic Stay(If
                                               Necessary)for Judgment, or Alternatively Motion
                                               to Declare Judgment Valid. Fee Amount $181),
                                               Granting Motion For Relief From Stay (Related
                                               Doc 24) Entered on Docket 12/9/2019 (Wilkins,
                                               Tanya) Modified on 12/9/2019 (Wilkins, Tanya).
 12/09/2019                                    (Entered: 12/09/2019)

                            53                 BNC Certificate of Mailing(RE: related document
                            (5 pgs)            (s) 52 Order Denying Motion To
                                               Continue/Reschedule Hearing On (Related Doc
                                               43) (related documents Motion for Relief from
                                               Stay and Motion to Annul the Automatic Stay(If
                                               Necessary)for Judgment, or Alternatively Motion
                                               to Declare Judgment Valid. Fee Amount $181),
                                               Granting Motion For Relief From Stay (Related
                                               Doc 24) Entered on Docket 12/9/2019 (Wilkins,
                                               Tanya) Modified on 12/9/2019 .) No. of Notices:
                                               1. Notice Date 12/11/2019. (Admin.) (Entered:
 12/11/2019                                    12/11/2019)

                            54                 Adversary case 5:19-ap-07070. Complaint to
                            (70 pgs; 6 docs)   Determine Dischargeability of Debt by Absolute
                                               Pediatric Services, Inc., Anthony Christopher
                                               against LaDonna Humphrey. Fee Amount
                                               (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                                               Exhibit C # 4 Exhibit D # 5 Exhibit E) Nature of
                                               Suit: (68 (Dischargeability - 523(a)(6), willful
                                               and malicious injury)) (Ritter, Glenn) (Entered:
 12/12/2019                                    12/12/2019)

                            55                 Motion to Extend Time in Which to File a
                            (2 pgs)            Complaint Pursuant to 11 U.S.C. § 727, and Delay
                                               Entry of Discharge (Sherman, Shari) (Entered:
 12/19/2019                                    12/19/2019)

                            56                 Motion to Extend Time To Object to Discharge
                            (2 pgs)            Filed by Trustee (Rucker, Bianca) (Entered:
 12/20/2019                                    12/20/2019)

                            57
                            (2 pgs; 2 docs)    Hearing SCHEDULED(RE: related document(s)
                                               55 Motion to Extend Time in Which to File a
                                               Complaint Pursuant to 11 U.S.C. § 727, and Delay
                                               Entry of Discharge ) Hearing scheduled for
                                               2/12/2020 at 09:00 AM at Fayetteville Division.




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 12/23/2019                                    (Williams, Lisa) (Entered: 12/23/2019)

                            58                 Amended Schedules/Statements Filed: Sch A/B,
                            (10 pgs)           Sch C, [Fee Due No] Filed by Stanley V Bond on
                                               behalf of Debtor LaDonna Humphrey (Bond,
 12/25/2019                                    Stanley) (Entered: 12/25/2019)

                            59                 Response to Motion to Sell (RE: related document
                            (2 pgs)            (s)46 Motion to Sell and Notice of Opportunity to
                                               Object and Overbid Filed by Bianca Rucker on
                                               behalf of Bianca Rucker (Attachments: # 1 Exhibit
                                               Mailing Matrix) filed by Trustee Bianca Rucker, 58
                                               Amended Schedules/Statements Filed: Sch A/B,
                                               Sch C, [Fee Due No] Filed by Stanley V Bond on
                                               behalf of Debtor LaDonna Humphrey filed by
                                               Debtor LaDonna Humphrey) Filed by Emily J.
                                               Henson on behalf of Debtor LaDonna Humphrey
 12/25/2019                                    (Henson, Emily) (Entered: 12/25/2019)

                            60                 BNC Certificate of Mailing - Hearing(RE: related
                            (3 pgs)            document(s) 57 Hearing SCHEDULED(RE:
                                               related document(s) 55 Motion to Extend Time in
                                               Which to File a Complaint Pursuant to 11 U.S.C. §
                                               727, and Delay Entry of Discharge ) Hearing
                                               scheduled for 2/12/2020 at 09:00 AM at
                                               Fayetteville Division.) No. of Notices: 18. Notice
 12/25/2019                                    Date 12/25/2019. (Admin.) (Entered: 12/25/2019)

                            61                 Hearing SCHEDULED(RE: related document(s)
                            (2 pgs; 2 docs)    46 Motion to Sell and Notice of Opportunity to
                                               Object and Overbid Filed by Bianca Rucker on
                                               behalf of Bianca Rucker (Attachments: # 1 Exhibit
                                               Mailing Matrix), 59 Response to Motion to Sell
                                               (RE: related document(s)46 Motion to Sell and
                                               Notice of Opportunity to Object and Overbid Filed
                                               by Bianca Rucker on behalf of Bianca Rucker
                                               (Attachments: # 1 Exhibit Mailing Matrix) filed by
                                               Trustee Bianca Rucker, 58 Amended
                                               Schedules/Statements Filed: Sch A/B, Sch C, [Fee
                                               Due No] Filed by Stanley V Bond on behalf of
                                               Debtor LaDonna Humphrey filed by Debtor
                                               LaDonna Humphrey) Filed by Emily J. Henson on
                                               behalf of Debtor LaDonna Humphrey) Hearing
                                               scheduled for 2/12/2020 at 09:00 AM at
                                               Fayetteville Division. (Williams, Lisa) (Entered:
 12/26/2019                                    12/26/2019)

                            62
                                               Hearing SCHEDULED(RE: related document(s)




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                            (2 pgs; 2 docs)    56 Motion to Extend Time To Object to Discharge
                                               Filed by Trustee) Hearing scheduled for 2/12/2020
                                               at 09:00 AM at Fayetteville Division. (Williams,
 12/26/2019                                    Lisa) (Entered: 12/26/2019)

                            63                 BNC Certificate of Mailing - Hearing(RE: related
                            (2 pgs)            document(s) 61 Hearing SCHEDULED(RE:
                                               related document(s) 46 Motion to Sell and Notice
                                               of Opportunity to Object and Overbid Filed by
                                               Bianca Rucker on behalf of Bianca Rucker
                                               (Attachments: # 1 Exhibit Mailing Matrix), 59
                                               Response to Motion to Sell (RE: related document
                                               (s)46 Motion to Sell and Notice of Opportunity to
                                               Object and Overbid Filed by Bianca Rucker on
                                               behalf of Bianca Rucker (Attachments: # 1 Exhibit
                                               Mailing Matrix) filed by Trustee Bianca Rucker, 58
                                               Amended Schedules/Statements Filed: Sch A/B,
                                               Sch C, [Fee Due No] Filed by Stanley V Bond on
                                               behalf of Debtor LaDonna Humphrey filed by
                                               Debtor LaDonna Humphrey) Filed by Emily J.
                                               Henson on behalf of Debtor LaDonna Humphrey)
                                               Hearing scheduled for 2/12/2020 at 09:00 AM at
                                               Fayetteville Division.) No. of Notices: 1. Notice
 12/28/2019                                    Date 12/28/2019. (Admin.) (Entered: 12/28/2019)

                            64                 BNC Certificate of Mailing - Hearing(RE: related
                            (2 pgs)            document(s) 62 Hearing SCHEDULED(RE:
                                               related document(s) 56 Motion to Extend Time To
                                               Object to Discharge Filed by Trustee) Hearing
                                               scheduled for 2/12/2020 at 09:00 AM at
                                               Fayetteville Division.) No. of Notices: 1. Notice
 12/28/2019                                    Date 12/28/2019. (Admin.) (Entered: 12/28/2019)

                            65                 Adversary Case 5:19-ap-7067 Closed. (Wilkins,
 01/07/2020                                    Tanya) (Entered: 01/07/2020)

                            66                 Consent Order Granting Motion to Extend time
                            (3 pgs; 2 docs)    in which to file a Complaint Pursuant to 11
                                               U.S.C. Section 727 and delay entry of Discharge.
                                               (Related Doc # 55) Entered on Docket 2/10/2020
 02/10/2020                                    (Wilkins, Tanya) (Entered: 02/10/2020)

                            67                 Agreed Order Granting Motion to Extend Time
                            (2 pgs; 2 docs)    to Object to Discharge (Related Doc # 56)
                                               Entered on Docket 2/11/2020 (Wilkins, Tanya)
 02/11/2020                                    (Entered: 02/11/2020)

                            68
                                               BNC Certificate of Mailing(RE: related document




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                            (4 pgs)            (s) 66 Consent Order Granting Motion to
                                               Extend time in which to file a Complaint
                                               Pursuant to 11 U.S.C. Section 727 and delay
                                               entry of Discharge. (Related Doc 55) Entered on
                                               Docket 2/10/2020 (Wilkins, Tanya) ) No. of
                                               Notices: 19. Notice Date 02/12/2020. (Admin.)
 02/12/2020                                    (Entered: 02/12/2020)

                            69                 Hearing Held (RE: Motion to Sell - related
                                               document(s) 46) (GRANTED; ORDER BY
 02/13/2020                                    RUCKER)(Carter, Angie) (Entered: 02/13/2020)

                            70                 Hearing Held (RE: Response - related document(s)
 02/13/2020                                    59) (Carter, Angie) (Entered: 02/13/2020)

                            71                 BNC Certificate of Mailing(RE: related document
                            (3 pgs)            (s) 67 Agreed Order Granting Motion to Extend
                                               Time to Object to Discharge (Related Doc 56)
                                               Entered on Docket 2/11/2020 (Wilkins, Tanya) )
                                               No. of Notices: 19. Notice Date 02/13/2020.
 02/13/2020                                    (Admin.) (Entered: 02/13/2020)

                            72                 Order Granting Motion For Approval Of Sale.
                            (3 pgs; 2 docs)    (Related Doc # 46) Entered on Docket 2/14/2020
 02/14/2020                                    (Wilkins, Tanya) (Entered: 02/14/2020)

                            73                 BNC Certificate of Mailing(RE: related document
                            (4 pgs)            (s) 72 Order Granting Motion For Approval Of
                                               Sale. (Related Doc 46) Entered on Docket
                                               2/14/2020 (Wilkins, Tanya) ) No. of Notices: 19.
                                               Notice Date 02/16/2020. (Admin.) (Entered:
 02/16/2020                                    02/16/2020)

                            74                 Notice of Appeal and Statement of Election to
                            (2 pgs)            District Court . Fee Amount $298 Filed by Debtor
                                               LaDonna Humphrey (RE: related document(s) 72
                                               Order on Motion To Sell) Appellant Designation
                                               due by 3/13/2020. (Stanley, Lori) (Entered:
 02/28/2020                                    02/28/2020)

                            75                 Initial Transmittal of Notice of Appeal/Motion for
                                               Leave to Appeal to District Court Filed by Debtor
                                               LaDonna Humphrey (RE: related document(s) 74
                                               Notice of Appeal and Statement of Election filed
                                               by Debtor LaDonna Humphrey) (Stanley, Lori)
 02/28/2020                                    (Entered: 03/02/2020)

                            76                 Receipt of Appeal Filing Fee - $298.00 by LS.




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                                                    Receipt Number 90064100. (admin) (Entered:
 03/02/2020                                         03/02/2020)

                               77                   Appellant Designation of Contents For Inclusion in
                               (2 pgs)              Record On Appeal with Statement of Issues Filed
                                                    by Debtor LaDonna Humphrey (RE: related
                                                    document(s) 74 Notice of Appeal and Statement of
                                                    Election filed by Debtor LaDonna Humphrey)
                                                    Appellee designation due by 3/27/2020.
                                                    Transmission of Designation Due by 4/13/2020.
 03/13/2020                                         (Bell, Allison) (Entered: 03/13/2020)




                                         PACER Service Center
                                           Transaction Receipt
                                            03/18/2020 11:53:28
                    PACER                               Client
                                  arwdpacer:2541774:0
                    Login:                              Code:
                                                                  5:19-bk-72555 Fil or
                                                                  Ent: filed From:
                                                                  1/1/1980 To: 3/18/2020
                                                        Search    Doc From: 0 Doc To:
                    Description: Docket Report
                                                        Criteria: 99999999 Term:
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                                                                  documents: included
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                                  8                     Cost:     0.80
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